Case 5:11-cr-50124-RTD   Document 34   Filed 07/20/12   Page 1 of 2 PageID #: 97



                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF ARKANSAS
                         FAYETTEVILLE DIVISION



CRIMINAL NO. 11-50124-002               USA v. MARCO BECERRA

COURT PERSONNEL:                        APPEARANCES:

Judge: JIMM LARRY HENDREN               Govt. DUSTIN ROBERTS

Clerk: GAIL GARNER                      Deft. SHELLY KOEHLER

Reporter: THERESA SAWYER


                         SENTENCING MINUTE SHEET


     On this date the above named defendant appeared in person and
with counsel for sentencing and is sworn.

      (X)    Inquiry made that defendant is not under influence of
             alcohol or drugs and is able to comprehend proceedings.
      (X)   Inquiry made whether defendant is under the care of a
             physician or taking any medication and is able to
             comprehend proceedings.
      (X)    Inquiry made that defendant is satisfied with counsel.
      (X)    Court determined that defendant and counsel have had
             opportunity to read and discuss presentence investigation
             report.
      (X)   Presentence investigation report reviewed in open court.
      (X)    Government moves for downward departure pursuant to
             5K1.1 and 3553(e) - granted and 3-level reduction
             awarded by the court.
      (X)    Court expresses final approval of plea agreement.
      (X)    Counsel for defendant afforded opportunity to speak on
             behalf of defendant.
      (X)    Defendant afforded opportunity to make statement and
             present information in mitigation of sentence.
      (X)    Attorney for government afforded opportunity to make
             statement to court.
      (X)    Court proceeded to impose sentence as follows:

            51 months imprisonment; 3 years supervised release;
            $7,000.00 fine - interest waived.
Case 5:11-cr-50124-RTD   Document 34   Filed 07/20/12   Page 2 of 2 PageID #: 98



Criminal No. 11-50124-002


      (X)   Defendant ordered to comply with standard conditions
            of supervised release.
      (X)   Defendant ordered to comply with the following special
            conditions of supervised release:

            Submit to inpatient/outpatient drug testing/treatment
            as deemed necessary by USPO.

            Submit person, residence, place of employment and
            vehicle to search upon request by USPO.

      (X)   Defendant ordered to pay total special assessment of
            $100.00, for count 1, which shall be due immediately.
      (X)   Counts 3, 4, and forfeiture allegation dismissed on
            motion by the government.
      (X)   Defendant advised of right to appeal sentence imposed.
      (X)   Defendant advised of right to apply for leave to appeal
            in forma pauperis.
      (X)   Defendant remanded to custody of USMS.



DATE: July 20, 2012                     Proceeding began: 2:16 pm

                                                        ended: 2:45 pm
